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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,               )      CR. NO. 06-00469 HG
                                        )
                                        )
                  Plaintiff,            )
                                        )
            vs.                         )
                                        )
SYED QADRI,              (01)           )
PATRICIA ROSZKOWSKI,     (02)           )
RUBEN CARRILLO GONZALEZ, (03)           )
JEFFREY GREENHUT,        (04)           )
                                        )
                  Defendants.           )
                                        )
_______________________________


 ORDER DENYING DEFENDANT SYED QADRI, PATRICIA ROSZKOWSKI, RUBEN
   CARRILLO GONZALEZ, AND JEFFREY GREENHUT’S MOTION TO SUPPRESS

      On June 17, 2008, Defendant Syed Qadri filed a Motion to

Suppress (Doc. 176, “Motion to Suppress”) in which all other

Defendants joined.

      On August 1, 2008, the Government filed a Memorandum in

Opposition to Defendants’ Motion to Suppress. (Doc. 184.)

      On August 6, 2008, this matter came on for hearing and the

Court took it under submission.             Defendants requested a hearing

under Franks v. Delaware, 438 U.S. 154 (1978), arguing that the

government had made “false statements” with respect to

Confidential Informant 1 (“CI-1").             The Defendants represented to

the Court that the Government had recently produced documents

pertaining to CI-1.       The Court allowed the parties time to file a

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supplemental memorandum in support of their Franks hearing

request.

        On August 8, 2008, Defendant Gonzalez filed a Supplemental

Memorandum in Support of the Motion to Suppress.                 (Doc. 194.)

        On August 12, 2008, the Government filed a memorandum in

opposition to Defendant Gonzalez’s supplemental filing.                  (Doc.

195.)

                            STANDARD OF REVIEW

        A court reviewing the issuance of a warrant is "limited to

the information and circumstances contained within the four

corners of the underlying affidavit."              United States v. Bertrand,

926 F.2d 838, 841 (9th Cir. 1991) (citations omitted).                  In

conducting its review, the court looks at "whether the magistrate

had a substantial basis to conclude that the warrant was

supported by probable cause.”       United States v. Fernandez, 388

F.3d 1199, 1252 (9th Cir. 2004) (citing United States v.

Celestine, 324 F.3d 1095, 1100 (9th Cir. 2003) (further citation

omitted)).    "[T]he magistrate judge's determination should be

paid great deference."       United States v. Gourde, 440 F.3d 1065,

1069 (9th Cir.), cert. denied __ S. Ct. __, 2006 WL 1993215

(2006)(citations and quotations omitted).               In "borderline cases,

preference will be accorded to warrants and to the decision of

the magistrate issuing it."       United States v. Terry, 911 F.2d

272, 275 (9th Cir. 1990) (citation omitted).

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      "Probable cause exists when, considering the totality of the

circumstances, the affidavit shows that there is a <fair

probability that contraband or evidence of a crime will be found

in a particular place.<”      Fernandez, 388 F.3d at 1252 (quoting

United States v. Ocampo, 937 F.2d 485, 490 (9th Cir. 1991)

(quoting Illinois v. Gates, 462 U.S. 213, 238, 103 S. Ct. 2317,

76 L.Ed.2d 527 (1983)).       The Court of Appeals for the Ninth

Circuit has explained the Illinois v. Gates' “fair probability”

standard, as follows:

      For probable cause to exist, a magistrate need not
      determine that the evidence sought is in fact on the
      premises to be searched, or that the evidence is more
      likely than not to be found where the search takes
      place. The magistrate need only conclude that it would
      be reasonable to seek the evidence in the place
      indicated in the affidavit.

Fernandez, 388 F.3d at 1254 (citation omitted; emphasis

original).

      Indeed, "[u]nder the totality of the circumstances test,

otherwise innocent behavior may be indicative of criminality when

viewed in context".      United States v. Chavez-Miranda, 306 F.3d

973, 978 (9th Cir. 2002) (citing United States v. Ocampo, 937

F.2d 485, 490 (9th Cir. 1991)).         In addition, the magistrate

judge may "rely on the training and experience of affiant police

officers" in determining probable cause.               Id.   (citing United

States v. Gil, 58 F.3d 1414, 1418 (9th Cir. 1995)); see United


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States v. Fannin, 817 F.2d 1379, 1381-82 (9th Cir. 1987) (same).

                                BACKGROUND

      The Federal Bureau of Investigation (“FBI”), United States

Immigration and Customs Enforcement (“ICE”), and other law

enforcement agencies initiated an investigation of Defendant

Qadri and his companies, Amasses Capital LLC, Solomon & Co., LLC,

ALR Capital LLC and YS Capital. LLC, and co-defendants in

connection with the alleged operation of a high-yield investment

and trading Ponzi scheme.       The government acquired information by

subpoenaing the defendants’ bank account information from various

financial institutions as well as information from credit card

companies and other financial and retail establishments that were

identified from the back account statements of the individual

accounts.

      The Indictment, returned and filed on August 31, 2006,

charges defendants with four counts of wire fraud in violation of

18 U.S.C. § 1343 and 18 U.S.C. § 2.             Co-defendant Patricia

Roszkowski was also charged with two counts of credit application

fraud in violation of 18 U.S.C. § 1014.

      On August 31, 2006, the government filed an Application and

Affidavit for Search Warrant.       Based on the Application and

Affidavit for Search Warrant, the government obtained four search

warrants to search Defendant Syed Qadri’s three personal


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residences in Honolulu, Hawaii and the Honolulu office of Amasse

Capital.    On August 31, 2006, the government also obtained a

search warrant in the Southern District of New York to search the

Amasse Capital New York office.         The government executed the

search warrants on September 1, 2006.

      On September 8, 2006, another search warrant was issued and

executed in the District of Arizona to search electronic devices

belonging to co-defendant Ruben Carrillo Gonzalez.

      The search warrant application for the Honolulu search

warrants was based on the Affidavit of Special Agent Tim Beam of

the FBI.    (Motion to Suppress at Exh. A (“Affidavit”)).                The

Affidavit sets forth in detail the financial information obtained

from various financial institutions and the numerous suspicious

transactions that occurred during the period from December 2005

through August 2006.      The Affidavit recounts a complaint by an

investor that Defendants did not fulfill promises regarding his

investment. (Affidavit at ¶¶ 63-64.)              The Affidavit also recites

information from three confidential informants.

      Defendants pay little attention to the substantial

information recited in the Affidavit other than that pertaining

to the confidential informants.         Defendants’ primary argument is

that the Affidavit failed to establish the reliability of the

confidential informants and that the uncorroborated facts cited

by the confidential informants failed to establish probable

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cause.    Defendants also argue that the Affidavit contained false

statements as to Confidential Information 1 (“CI-1") that were

made either knowingly or intentionally, or with reckless

disregard for the truth, and these statements were necessary to

any finding of probable cause.          Defendants’ second argument

requires the Court to consider whether Defendants have made the

required showing for an evidentiary hearing pursuant to Franks v.

Delaware, 438 U.S. 154 (1978).

                                  ANALYSIS


I.    The magistrate judge had a substantial basis to conclude
      that the warrants were supported by probable cause


      In their Motion to Suppress, the Defendants contend that the

Court should suppress the evidence seized from the searched

premises because the warrants were not supported by probable

cause.

      Applying the “totality of the circumstances test,” the Court

finds that the magistrate judge had a substantial basis for

concluding that probable cause to issue the warrants existed.

The Affidavit consists of 106 paragraphs contained in 64 pages.

The Affidavit sets forth numerous facts regarding the defendants

suspicious business and financial activities which the government

obtained as a result of its financial investigation.                  The

Affidavit details facts which show that contrary to Defendants’


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statements to investors, the investor funds were not utilized as

promised.    The facts detailed show, for instance, that investors’

money was used to pay earlier investors and/or for the personal

benefit of Defendant Qadri and his co-defendants.                 Based on this

information, the Court finds that the magistrate judge had a

substantial basis for finding probable cause.

      The magistrate judge was also given sufficient information

to assess the reliability of the informants.                 Factors to assess

an informant’s reliability include whether the informant had

provided reliable information in the past, whether the

information was described in detail, as well as whether the

police were able to independently corroborate the information.

See United States v. Elliott, 322 F.3d 710, 715 (9th Cir. 2003);

United States v. Reeves, 210 F.3d 1041 (9th Cir. 2000).                 In this

case, the Affidavit sets forth the reliability of the informants,

as discussed further below, and provides detailed information

from the confidential informants corroborated by information from

other sources, including independent police work.                 (See Affidavit

at ¶¶ 24, 47-52, 56-58 as to CI-1; ¶¶ 26, 51 as to CI-2, and ¶¶

29, 64, 72, 88, 89. 91, 96, and 99 as to CI-3.)

II.   Defendants have not made the required showing for a Franks
      hearing


      An evidentiary hearing pursuant to Franks v. Delaware, 438

U.S. 154 (1978) allows a defendant to test the veracity of an

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affidavit supporting a warrant.         There is a presumption of

validity with respect to an affidavit supporting a search

warrant.    See Franks, 438 U.S. at 171.            To overcome this

presumption and establish the right to a Franks hearing, the

defendant must make “a substantial preliminary showing that a

false statement was (1) deliberately or recklessly included in an

affidavit submitted in support of a search warrant, and (2)

material to the finding of probable cause for the issuance of

that warrant . . .”      United States v. Garcia-Cruz, 978 F.2d 537,

540 (9th Cir. 1992).

      The Ninth Circuit Court of Appeals has identified five

requirements that a defendant must satisfy before he is entitled

to a Franks hearing:

      (1) the defendant must allege specifically which portions
      of the warrant affidavit are claimed to be false; (2) the
      defendant must contend that the false statements or
      omissions were deliberately or recklessly made; (3) a
      detailed offer of proof, including affidavits, must
      accompany the allegations; (4) the veracity of only the
      affiant must be challenged; and (5) the challenged
      statements must be necessary to find probable cause.

United States v. DiCesare, 765 F.2d 890, 894-895 (9th Cir. 1985).

      Defendants have not met their burden to show that they are

entitled to a Franks hearing.       The crux of Defendants argument is

that the government made false statements by omission by failing

to disclose in the Affidavit certain background information which



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it knew about CI-1, Norman Michael Miller.                    The Supplemental

Memorandum filed by Defendant Ruben Carrillo Gonzalez recites

Miller’s past unlawful activities and fraudulent conduct.

Defendants argue that in paragraph 24 of the Affidavit, Agent

Beam failed to inform the magistrate judge of Miller’s two

previous convictions involving fraud and theft.

      Contrary to the Defendants’ contention, the Court does not

find that there is sufficient evidence to conclude that the

government deliberately withheld this information from the

magistrate judge.        There is no evidence that Agent Beam

deliberately or recklessly omitted or made any false statements

regarding Miller’s conduct in an effort to bolster CI-1's

credibility.     See United States v. Miller, 753 F.2d 1475 (9th

Cir. 1985) (holding that defendant failed to establish that

search warrant affidavit contained intentionally or reckless

false statements because failure of federal agents to check

confidential informants background and criminal record and

failure to discover an informant’s prior perjury conviction

amounted to no more than negligence).

      Moreover, the Affidavit made the magistrate judge aware that

Miller was a prior felon.        Although the Affidavit did not

specifically mention Miller’s conviction for securities fraud and

theft, it informed the magistrate judge that CI-1 was previously

involved in an investment scheme until he was arrested by the FBI

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 in 2002.    (Affidavit at ¶ 24.)       The Affidavit also detailed CI-

 1's arrangement with the government.          The Affidavit contained

 sufficient information about CI-1.          The Ninth Circuit has never

 required that an affidavit in support of a search warrant contain

 all known information pertaining to an informant’s reliability.

 To the contrary, the general rule is that if an informant has

 provided accurate information on past occasions, he may be

 presumed trustworthy on subsequent occasions.             See United States

 v. Angulo-Lopez, 791 F.2d 1394, 1397 (9th Cir. 1985).              In this

 case, the Affidavit states that CI-1 has provided information on

 numerous occasions which has always proved trustworthy.

 (Affidavit at ¶ 24.)

       Moreover, as discussed above, the Affidavit contained

 sufficient information for the magistrate judge to have a

 substantial basis to find probable cause even without relying on

 the information provided by CI-1.           As such, the government’s

 allegedly deliberate omission was not material to a finding of

 probable cause for issuance of the warrant.

       Defendants have failed to meet their burden of showing that

 they are entitled to a Franks hearing.

 III. The search warrants satisfy the particularity requirement of
      the Fourth Amendment


       Defendants argue that the search warrants lacked sufficient

 particularity and are invalid “general warrants.”              In light of

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 the nature of this case, the Court disagrees.             The Court finds

 that the Affidavit established that the Defendant Qadri’s

 operation of his companies was permeated by fraud (Affidavit at ¶

 80) and the items listed in the warrants were drawn as narrowly

 as possible in light of the nature of the case.             See United

 States v. Offices Known as 50 State Distributing Co., 708 F.2d

 1371, 1374 (9th Cir. 1983).      As such, the warrants were not

 unconstitutionally broad.

 IV.   The good faith exception to the exclusionary rule
       established in United States v. Leon would apply


       Even if the magistrate judge did not have a substantial

 basis to conclude that the warrant was supported by probable

 cause, the evidence would be admissible under the good faith

 exception established in United States v. Leon, 468 U.S. 897

 (1984).   Under the good faith exception, evidence obtained

 through an officer<s reasonable reliance on a search warrant

 issued by a neutral magistrate is generally admissible.               Id. at

 922   (When officers act in reasonable reliance on a search

 warrant issued by a neutral magistrate but ultimately found to be

 invalid, however, evidence seized pursuant to the warrant should

 not be suppressed.).

       Leon recognized four situations in which the good faith

 exception would not apply.       Id. at 923.      Defendants have not

 presented a persuasive argument that the Leon good faith

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 exception would be inapplicable to the circumstances of this

 case.    The Court holds that even if the magistrate judge did not

 have a substantial basis to conclude that the warrant was

 supported by probable cause, the evidence would be admissible

 under the good faith exception.         Under the circumstances present

 here, an officer could objectively rely on the warrant.                 See

 United States v. Clark, 31 F.3d 831, 835 (9th Cir. 1994).

                                 CONCLUSION


         For the foregoing reasons, Defendant Syed Qadri’s Motion to

 Suppress (Doc. 176), joined by all co-defendants, is DENIED.

         IT IS SO ORDERED.

         DATED: September 9, 2008, Honolulu, Hawaii.




                                    _/s/ Helen Gillmor_________________
                                    Chief United States District Judge

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